            If this opinion indicates that it is “FOR PUBLICATION,” it is subject to
                 revision until final publication in the Michigan Appeals Reports.




                          STATE OF MICHIGAN

                            COURT OF APPEALS


PEOPLE OF THE STATE OF MICHIGAN,                                     UNPUBLISHED
                                                                     August 22, 2024
               Plaintiff-Appellee

v                                                                    No. 363543
                                                                     Ingham Circuit Court
MARKUS KENTAY VARY,                                                  LC No. 16-000911-FH

               Defendant-Appellant.


Before: MALDONADO, P.J., and M. J. KELLY and RICK, JJ.

PER CURIAM.

         Following a jury trial, defendant, Markus Vary, was convicted of transporting a person for
purposes of prostitution, MCL 750.459, and accepting the earnings of a prostitute, MCL 750.457.
He was sentenced as a third-offense habitual offender, MCL 769.11, to serve 160 months to 40
years’ imprisonment for each conviction. Vary appealed to this Court raising a number of
challenges. This Court affirmed his convictions, but vacated his sentences and remanded for
resentencing. People v Vary, unpublished per curiam opinion of the Court of Appeals, issued April
23, 2020 (Docket No. 344223), p 1. On resentencing, the trial court sentenced Vary to 150 months
to 40 years’ imprisonment for each conviction. Vary now appeals by right. For the reasons stated
in this opinion, we affirm.

                                        I. BASIC FACTS

        In July 2016, Vary met AV, a woman of no fixed abode who was working as a commercial
sex worker. He offered to provide her with rides and “security” if she would give a portion of her
earnings to him. She agreed. Thereafter, he arranged for her to stay at his friend’s house and he
provided her with crack cocaine. On July 14, 2016, he drove her and his girlfriend to a prostitution
customer’s house. The two women performed sexual acts with the customer. The money earned
by the women was given to Vary. The next day, Vary, his girlfriend, and AV were apprehended
in a sting operation at a motel. AV testified against Vary and his girlfriend in exchange for
immunity. Vary testified that he had not arranged any prostitution dates. He denied providing the
women with any direction or accepting any portion of their earnings. The jury, however, found




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him guilty of transporting a person for purposes of prostitution and accepting the earnings of a
prostitute.1

                            II. CHANGE OF SENTENCING JUDGE

         Vary first argues that he is entitled to resentencing because the judge who presided over
his trial did not sentence him. He previously raised this issue in his prior appeal, and this Court
rejected it, reasoning:

       “Generally, a defendant should be sentenced by the same judge who presided at
       [the defendant’s] trial, provided that the judge is reasonably available.” People v
       Pierce, 158 Mich App 113, 115; 404 NW2d 230 (1987), citing People v Clemons,
       407 Mich 939; 291 NW2d 927 (1979). In this case, a visiting judge was assigned
       to, and presided over, Vary’s trial. Specifically, at the beginning of trial, the visiting
       judge explained that he was a district court judge who had been temporarily
       assigned to the 30th Circuit Court by the State Court Administrator’s Office. At
       sentencing, the prosecutor explained that the visiting judge who presided over
       Vary’s trial was no longer assigned to the 30th Circuit Court. For that reason, the
       visiting judge no longer had authority to act as a circuit court judge at the time of
       sentencing, and was therefore not reasonably available to sentence Vary.
       Consequently, resentencing is not required. See People v VanAuker (After
       Remand), 132 Mich App 394, 399; 347 NW2d 466 (1984), rev’d in part on other
       grounds 419 Mich 918 (1984) (holding that resentencing was not required when the
       visiting judge “was not reasonably available to sentence defendant since he no
       longer had the authority to act as a circuit judge in that circuit at the time of
       sentencing”). [Vary, unpub op at 6-7.]

        Although Vary acknowledges that this Court has previously rejected his position, he directs
this Court to the decision in People v Bennett, 344 Mich App 12; 999 NW2d 827 (2022), which
was issued after his previous appeal was decided. In that case, the defendant was sentenced by a
different judge than the one who had presided over his trial because the trial judge was reassigned
to a different courthouse in the same county as a result of an administrative order. Id. at 14. The
prosecution conceded that the trial judge was reasonably available, but argued that remand for
resentencing was unnecessary because the defendant suffered no prejudice from being sentenced
by a different judge. Id. at 20-21. The Bennett Court concluded that, regardless of whether the
defendant was or was not prejudiced, remand for resentencing was necessary so long as the trial
judge was still “reasonably available.” Id. at 22-23.

        Vary now contends that a remand is necessary to determine whether he was prejudiced
because the sentencing judge was unfamiliar with the testimony and did not have an opportunity
to observe the demeanor of the witnesses. Yet, Bennett does not alter the long-standing rule that
reversal for resentencing before the same judge that presided over the trial is not warranted unless
that judge is “reasonably available.” Id. at 23. As this Court explained in our prior opinion, the


1
  Vary was also charged with third-degree criminal sexual conduct, MCL 750.520d(1)(b), but the
jury was unable to reach a verdict on that charge. The prosecution, therefore, dismissed it.


                                                  -2-
judge that presided over Vary’s trial was not reasonably available because he “no longer had the
authority to act as a circuit judge in that circuit at the time of sentencing.” Vary, unpub op at 7.
Under the law-of-the-case doctrine, we are bound by that determination. See People v Hawkins,
340 Mich App 155, 191; 985 NW2d 853 (2022) (stating that the law-of-the-case doctrine provides
that an appellate court’s final determination on a matter of law binds both the lower court on
remand and appellate courts in later appeals of the same case.”).

                                    III. REASONABLENESS

                                  A. STANDARD OF REVIEW

         Vary next asserts that he is entitled to resentencing because his sentences are unreasonable
and disproportionate. “This Court reviews the proportionality of a trial court’s sentence for an
abuse of discretion.” People v Lydic, 335 Mich App 486, 500; 967 NW2d 847 (2021) (quotation
marks and citation omitted). “An abuse of discretion occurs when the court chooses an outcome
that falls outside the range of reasonable and principled outcomes.” People v Bass, 317 Mich App
241, 256; 893 NW2d 140 (2016) (quotation marks and citation omitted).

                                          B. ANALYSIS

        Vary received a within-guideline sentence of 150 months to 40 years’ incarceration. A
challenge to a within-guidelines sentence is reviewed for reasonableness. People v Posey, 512
Mich 317, 326; 1 NW3d 101 (2023) (BOLDEN, J.) (Posey I). “[T]he relevant question for appellate
courts reviewing a sentence for reasonableness” is “whether the trial court abused its discretion by
violating the principle of proportionality . . . .” People v Steanhouse, 500 Mich 453, 471; 902
NW2d 327 (2017). The principle of proportionality “requires sentences imposed by the trial court
to be proportionate to the seriousness of the circumstances surrounding the offense and the
offender.” People v Walden, 319 Mich App 344, 351-352; 901 NW2d 142 (2017) (quotation marks
and citation omitted). As explained in People v Posey (On Remand), ___ Mich App ___, ___; ___
NW3d (2023) (Docket No. 345491) (Posey II), slip op at 2-3:

               “An appropriate sentence should give consideration to the reformation of
       the offender, the protection of society, the discipline of the offender, and the
       deterrence of others from committing the same offense.” People v Boykin, 510
       Mich 171, 183; 987 NW2d 58 (2022). With respect to sentencing and the
       guidelines, the key test is not whether a sentence departs from or adheres to the
       guidelines range. Steanhouse, 500 Mich at 472. The key test is whether the
       sentence is proportionate to the seriousness of the matter. Id. In regard to
       proportionality, the Milbourn Court "observed that the Legislature has determined
       to visit the stiffest punishment against persons who have demonstrated an
       unwillingness to obey the law after prior encounters with the criminal justice
       system.” [People v] Milbourn, 435 Mich [630,] 668[ 461 NW2d 1 (1990)]. “The
       premise of our system of criminal justice is that, everything else being equal, the
       more egregious the offense, and the more recidivist the criminal, the greater the
       punishment.” People v Babcock, 469 Mich 247, 263; 666 NW2d 231 (2003).




                                                -3-
There is a rebuttable presumption that within-guidelines sentences are proportional. See Posey I,
512 Mich at 358-359 (BOLDEN, J.). The defendant bears the burden of demonstrating that his or
her within-guidelines sentence “is unreasonable or disproportionate.” Posey II, ___ Mich App at
___; slip op at 2.

        Here, Vary maintains that his sentence is both unreasonable and disproportionate. In
support of that contention, he points out that, although the probation department recommended an
84-month minimum sentence, the trial court imposed a 150-month minimum sentence without
explaining why it was not following the 84-month recommendation. Yet, it is axiomatic that
recommendations made by the probation department are not binding upon the trial court.
Moreover, merely pointing out that the trial court did not impose the sentence recommended by
the probation department is insufficient to overcome the burden that a within-guidelines sentence
is reasonable and proportionate. Next, although the trial court could have more clearly articulated
the basis for its determination that a 150-month minimum sentence was reasonable and
disproportionate, a defendant may not overcome the presumption of proportionality simply by
arguing that a trial court could have better articulated its rationale. Vary offers no other argument
in support of his contention that the sentences imposed were unreasonable and disproportionate.
Accordingly, on this record, we conclude that the presumption of reasonableness has not been
overcome.

       Affirmed.

                                                              /s/ Allie Greenleaf Maldonado
                                                              /s/ Michael J. Kelly
                                                              /s/ Michelle M. Rick




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